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 5
                                UNITED STATES DISTRICT COURT
 6
                                   DISTRICT OF NEVADA
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                                             ***
 8
     UNITED STATES OF AMERICA,       )
 9                                   )
                Plaintiff,           )
10                                   )
      vs.                            )             2:12-cr-118-GMN-VCF
11                                   )
      MICHAEL CHARLES GARCIA,        )
12                                   )
                Defendant.           )                   ORDER
13   ________________________________)

14
           On April 24, 2013, the Court granted C. Stanley Hunterton, Esq.’s “Emergency
15
     Motion to Withdraw” (#66) and ordered counsel appointed (#67). Therefore;
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           IT IS HEREBY ORDERED that Todd M. Leventhal, Esq. is appointed as counsel
17
     for Michael Charles Garcia in place of C. Stanley Hunterton, Esq. for all further
18
     proceedings.
19
           IT IS FURTHER ORDERED that Mr. Hunterton shall forward the file to
20
     Mr. Leventhal forthwith.
21
                       29th day of April, 2013.
           DATED this _______
22
23         Nunc Pro Tunc Date: April 25, 2013.

24
25                                                 _______________________________
                                                   CAM FERENBACH
26                                                 United States Magistrate Judge

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